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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF KENTUCKY
                             CENTRAL DIVISION
                                  FRANKFORT
                               Electronically Filed



 COMMONWEALTH OF KENTUCKY, et
 al.,

           Plaintiffs,                               Civil No. 3:21-cv-00055-GFVT
     v.

 JOSEPH R. BIDEN, et al.,

           Defendants.



                         JOINT MOTION TO STAY PROCEEDINGS

      The parties jointly request that this Court stay further proceedings in this matter

pending final resolution of Defendants’ appeal from the Court’s order granting Plaintiffs’

motion for a preliminary injunction. See Opinion & Order, ECF No. 50 (“Order”).

      On November 30, 2021, the Court granted Plaintiffs’ motion for a preliminary

injunction and enjoined the Federal Government “from enforcing the vaccine mandate

for federal contractors and subcontractors in all covered contracts in Kentucky, Ohio, and

Tennessee.” Id. at 29. Defendants appealed the Court’s order on December 3, 2021. See

ECF No. 52. Defendants are currently obligated to respond to Plaintiffs’ amended

complaint on or before January 7, 2021.

      The parties agree and respectfully suggest that a stay of proceedings pending the

final resolution of Defendants’ appeal will both promote judicial economy and preserve

the parties’ resources. See Paintsville Hosp. Co., LLC v. Amneal Pharms., LLC, No. 7:20-cv-

00102-GFVT, 2020 WL 7048275, at *2 (Dec. 1, 2020) (“[T]he power to stay proceedings is



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incidental to the power inherent in every court to control the disposition of the causes on

its docket with economy of time and effort for itself, for counsel, and for litigants.”

(quoting Landis v. N. Am. Co., 299 U.S. 248, 254 (1936))). Defendants’ appeal implicates

important legal issues that the parties and the Court will likely have to address in future

proceedings, including questions pertaining this Court’s jurisdiction and the scope of the

President’s authority under the Federal Property and Administrative Services Act, which

is “a matter [of] first impression in the Sixth Circuit.” See Order at 11. An appellate

decision on those issues (and others) will thus likely provide the Court and the parties

significant aid in the ultimate resolution of this case. Furthermore, the parties’ proposed

stay is of a limited and definite duration that will not cause undue delay in the resolution

of this case.

       Accordingly, the parties respectfully request that the Court stay further district

court proceedings in this matter until the parties have exhausted appellate proceedings.

DATED: December 20, 2021                  Respectfully submitted,


                                          Daniel Cameron
                                          ATTORNEY GENERAL

                                          /s/ Christopher L. Thacker
                                          Barry L. Dunn (KBA No. 93787)
                                          Christopher L. Thacker (KBA No. 91424)
                                          Heather L. Becker (KBA No. 94360)
                                          Jeremy L. Sylvester (KBA No. 92771)
                                          Alexander Y. Magera (KBA No. 97708, admission
                                          application submitted)
                                          Office of the Attorney General
                                          700 Capital Avenue, Suite 118
                                          Frankfort, Kentucky 40601
                                          Phone: (502) 696-5300
                                          Barry.Dunn@ky.gov
                                          Christopher.Thacker@ky.gov
                                          Heather.Becker@ky.gov
                                          Jeremy.Sylvester@ky.gov
                                          Alexander.Magera@ky.gov



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                                    Counsel for the Commonwealth of Kentucky

                                    Dave Yost
                                    ATTORNEY GENERAL

                                    /s/ Benjamin M. Flowers
                                    Benjamin M. Flowers, pro hac vice
                                    Carol O’Brien, pro hac vice
                                    May Davis, pro hac vice
                                    Office of the Attorney General
                                    365 East Broad Street
                                    Columbus, Ohio 43215
                                    Phone: (614) 466-4986
                                    bflowers@OhioAGO.gov

                                    Counsel for the State of Ohio, Fredrick W. Stevens,
                                    and Scott A. Hildenbrand
                                    James R. Flaiz, pro hac vice
                                    Prosecuting Attorney
                                    Geauga County Prosecutor’s Office
                                    231 Main St., 3rd Floor
                                    Chardon, OH 44024
                                    Phone: (440) 279-2100

                                    Counsel for Scott A. Hildenbrand

                                    Herbert H. Slatery III
                                    ATTORNEY GENERAL

                                    /s/ Brandon J. Smith
                                    Dianna Baker Shew, pro hac vice
                                    Brandon J. Smith, pro hac vice
                                    Office of the Attorney General and Reporter
                                    P.O. Box. 20207
                                    Nashville, Tennessee 37202-0207
                                    Phone: (615) 532-4081
                                    dianna.shew@ag.tn.gov
                                    brandon.smith@ag.tn.gov
                                    Counsel for State of Tennessee


                                    BRIAN M. BOYNTON
                                    Acting Assistant Attorney General

                                    BRAD P. ROSENBERG



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                                    Assistant Director

                                    /s/ Jody D. Lowenstein     _
                                    ZACHARY A. AVALLONE
                                    JODY D. LOWENSTEIN
                                    Mont. Bar No. 55816869
                                    Trial Attorneys
                                    U.S. Department of Justice
                                    Civil Division, Federal Programs Branch
                                    1100 L Street NW
                                    Washington, D.C. 20005
                                    Phone: (202) 598-9280
                                    Email: jody.d.lowenstein@usdoj.gov

                                    Counsel for Defendants




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                            CERTIFICATE OF SERVICE
       On December 20, 2021, I electronically submitted the foregoing document with

the Clerk of Court for the U.S. District Court, Eastern District of Kentucky, using the

Court’s electronic case filing system. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)

(2).
                                              /s/ Jody D. Lowenstein
                                              JODY D. LOWENSTEIN
                                              Trial Attorney
                                              U.S. Department of Justice
